3:20-cv-03234-SEM-KLM # 11-3   Page 1 of 8
                                                                E-FILED
                                      Tuesday, 27 July, 2021 11:58:45 AM
                                           Clerk, U.S. District Court, ILCD
3:20-cv-03234-SEM-KLM # 11-3   Page 2 of 8
3:20-cv-03234-SEM-KLM # 11-3   Page 3 of 8
3:20-cv-03234-SEM-KLM # 11-3   Page 4 of 8
3:20-cv-03234-SEM-KLM # 11-3   Page 5 of 8
3:20-cv-03234-SEM-KLM # 11-3   Page 6 of 8
3:20-cv-03234-SEM-KLM # 11-3   Page 7 of 8
3:20-cv-03234-SEM-KLM # 11-3   Page 8 of 8
